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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )      Case No.: 2060342 NE22
                                         )                2060345 NE22
                    Plaintiff,           )                8:12CB4
                                         )
      vs.                                )               ORDER
                                         )
PAUL R. KEENER,                          )
                                         )
                    Defendant.           )



      IT IS ORDERED:

      At defendant’s request, the defendant is granted an extension of time until June 26,

2012, in which to pay the collateral amounts due of $275.00 and $175.00 in the above

cases. The full collateral amount is payable in full by that date or the defendant must

appear for hearing before the undersigned magistrate judge on June 26, 2012 at 9:00 a.m.

in Courtroom No. 7, Second Floor, Roman L. Hruska United States Courthouse, 111 South

18th Plaza, Omaha, Nebraska. The clerk will mail a copy of this order to Paul R. Keener

at his address of 1317 South 25th Street, Omaha, Nebraska 68105.             The hearing

scheduled at 9:00 a.m. on May 29, 2012 is canceled.

      DATED this 25th day of May, 2012.


                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
